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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

UNITED STATES OF AMERICA, ex. rel.                          )
BRADLEY A. STEPHENS, Relator,                               )
                                                            )
       Plaintiff,                                           )
                                                            )
vs.                                                         ) No. 2:13CV145
                                                            )
CONRADO CASTOR, M.D., AMERICAN HOME                         )
HEALTH SERVICES, INC., AUREA DUNCAN, AND                    )
JACOB CASTOR,                                               )
                                                            )
       Defendants.                                          )


        DEFENDANT CONRADO CASTOR, M.D.’S ANSWER TO PLAINTIFF’S
                COMPLAINT AND AFFIRMATIVE DEFENSES

       Defendant, Conrado Castor, M.D. (“Castor”), by counsel, for his Answer to Plaintiff’s

Complaint filed herein, states:

       1.       Plaintiff United States of America brings this action to recover statutory damages
and civil penalties under the False Claims Act, 31 U.S.C. §§ 3729-33, and to recover damages and
other monetary relief under the common law or equitable theories of fraud, unjust enrichment, and
payment by mistake of fact.

       ANSWER: Castor admits that Plaintiff’s Complaint purports to state claims for
           damages and civil penalties under the False Claims Act, fraud, unjust enrichment
           and payment by mistake of fact, but denies any liability on those claims.



       2.     From May 20, 2008 through January 25, 2014, immediate family members of
defendant Conrado Castor, M.D. (Dr. Castor) owned three home health agencies: defendant
American Home Health Care Services, Inc. (American), Adarna Home Health Care Services, Inc.
(Adarna), and Amore Home Health Care Services, Inc. (Amore).

       ANSWER: Castor neither admits nor denies the allegations contained in rhetorical
           paragraph 2 because he lacks sufficient knowledge as to their truth or falsity.




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        3.      From May 20, 2008 through January 25, 2014, defendant Dr. Castor violated the
False Claims Act by knowingly signing plans of care for, and otherwise referring numerous
patients for home health care services to defendant American, Adarna, and Amore, which were
owned by immediate family members, including two siblings and two spouses of siblings, in
violation of the Stark Law, 42 U.S.C. §§ 1395nn. Defendant American, and its owners defendants
Aurea Duncan and Jacob Castor, who are siblings of defendant Dr. Castor, and Adarna and Amore,
which also were owned by defendant Dr. Castor’s immediate family members, then violated the
False Claims Act by submitting, or causing to be submitted, claims for payment to the Medicare
Program (Medicare), Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395-1395kkk-1, for
services provided to home health patients referred by defendant Dr. Castor, and receiving payment
for those claims from Medicare, in violation of the Stark Law. From May 20, 2008 through January
25, 2014, Medicare paid approximately 472 claims totaling approximately $1,254,489.41 to
defendant American, Adarna, and Amore, three home health agencies owned by defendant Dr.
Castor’s immediate family members, for home health services referred by defendant Dr. Castor to
those home health agencies in violation of the Stark Law.

       ANSWER: Castor admits Aurea Duncan and Jacob Castor are his siblings, but denies
           the remaining allegations contained in rhetorical paragraph 3.



                                JURISDICTION AND VENUE

       4.     This court has jurisdiction over this action under 31 U.S.C. §§ 3730(a) and 3732(a)
and 38 U.S.C. §§ 1345 and 1367(a).

       ANSWER: Without admitting to the allegations contained in the Complaint, Castor
           admits this Court has jurisdiction over the subject matter of the Complaint.



        5.     Venue is proper in this District under 31 U.S.C. § 3732(a) and 28 U.S.C. §§ 1391(b)
and (c) because defendants can be found in, are authorized to transact business in, and are
transacting business in the Northern District of Indiana, and because defendants committed acts
within this District that violated 31 U.S.C. § 3729.

       ANSWER: Without admitting to the allegations contained in the Complaint, Castor
           admits that venue is proper in the Northern District of Indiana.




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                                            PARTIES

        6.     Plaintiff United States of America (United States), acting through the United States
Department of Health and Human Services (HHS) and the Centers for Medicare and Medicaid
Services (CMS), which administers the Health Insurance Program for the Aged and Disabled
established by Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395, §§ 1395-1395kkk-1
(Medicare).

       ANSWER: Because no allegations are made against Castor, he does not respond to the
           allegations in rhetorical paragraph 6. To the extent a response is necessary, Castor
           denies said allegations.


       7.      Realtor, Bradley Stephens, is an individual residing in Lake County, Indiana.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 7
           and therefore denies same.


       8.    Pursuant to 31 U.S.C. § 3730(b)(1), Mr. Stephens brought this action against
defendants Conrado Castor, M.D., American Home Health Services, Incorporated, and Aurea
Duncan on behalf of the United States.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 8
           and therefore denies same.



         9.     Defendant Conrado Castor, M,D, (Dr. Castor) resides in Schererville, Indiana in
Lake County in the Northern District of Indiana. During the time period relevant to the allegations
in this Complaint, defendant Dr. Castor was a physician in Lake County, Indiana who was engaged
in business as a Medicare provider of physician services.

       ANSWER: Castor admits he resides in Schererville, Indiana and that he was a physician
           during the time frame relevant to the allegations of the Complaint. Castor admits
           part of his business involved Medicare, but denies all other allegations.



       10.    Defendant American Home Health Services, Inc. (American) was engaged in
business as a Medicare provider of home health services in Lake County, Indiana from May 20,
2008 through January 18, 2014.

       ANSWER: Castor admits American was a home health provider, but denies all other
           allegations.



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       11.    Defendant Aurea Duncan (Duncan) resides in Crown Point, Indiana in Lake County
in the Northern District of Indiana. Defendant Duncan incorporated American on February 10,
2005 and has been American’s President since that time Defendant Duncan was a 50% shareholder
of American from its inception until August 2008, at which time she became the 100% shareholder
of American. Defendant Duncan is the sister of defendant Dr. Castor.

       ANSWER: Castor admits Duncan is his sister and that she resides in Crown Point,
           Indiana, but he is without knowledge as to the remaining allegations and therefore
           denies same.



        12.    Defendant Jacob Castor resides in Munster, Indiana in Lake County in the Northern
District of Indiana. Defendant Jacob Castor owned approximately 25%of American from May
2008 until August 2008. Defendant Jacob Castor is the brother of defendant Dr. Castor.

       ANSWER: Castor admits Jacob Castor is his brother and that he resides in Munster,
           Indiana, but he is without knowledge as to the remaining allegations and therefore
           denies same.



                                           THE LAW
                                       The False Claim Act

        13.      The False Claims Act (FCA) provides for the award of treble damages and civil
penalties for, inter alia, knowingly presenting or causing to be presented false or fraudulent claims
for payment to the United States government and for knowingly making or using false records or
statements material to false or fraudulent claims paid by the United States, 31 U.S.C. §§
3729(a)(1), (2); 31 U.S.C. §§ 3729(a)(1)(A), (a)(1)(B) (as amended).

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required, Castor denies the
           allegations.



       14.     The FCA provides, in pertinent part, that a person who:

               (a)(1)(A) knowingly presents, or causes to be presented, a false or fraudulent claim
               for payment or approval;




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             (a)(1)(B) knowingly makes, uses, or causes to be made or used, a false record or
             statement material to a false or fraudulent claim;

             (a)(1)(C) conspires to commit a violation of subparagraph (A), (B) … or (G), [or]

             (a)(1)(G) knowingly makes, uses, or causes to be made or used, a false record or
             statement material to an obligation to pay or transmit or property to the statement
             material to an obligation to pay or transmit money or property to the Government,
             or knowingly conceals or knowingly and improperly avoids or decreases an
             obligation to pay or transmit money or property to the Government, is liable to the
             United States Government for a civil penalty or not less than $5,500 and not more
             than $11,000, as adjusted by the Federal Civil Penalties Inflation Adjustment Act
             of 1990 (28 U.S.C. 2461 note; Public Law 104-410), plus 3 times the amount of
             damages which the Government sustains.. . .

             31 U.S.C. § 3729.

             For purposes of the False Claims Act,

                    (1)     the terms “knowing” and “knowingly” ---

                    (A)     means that a person, with respect to information ---

                                   (i)     has actual knowledge of the information;
                                   (ii)    acts in deliberate ignorance of the truth or falsity of
                                           the information; or
                                   (iii)   acts in reckless disregard of the truth or falsity of the
                                           information; and

                    (B)     require no proof of specific intent to defraud[.]

             31 U.S.C. § 3729(b)(1).

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.


       15.   The standard of proof under the FCA is preponderance of the evidence. 31 U.S.C.
§ 3731(d).

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.


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                                          The Stark Law

        16.     The physician self-referral law, 41 U.S.C. § 1395nn (commonly known as the Stark
Law) prohibits a physician from referring a Medicare beneficiary for “designated health services”
(DHS), as defined in 42 U.S.C. § 1395nn(h)(6) and 42 C.F.R. § 411.351, including home health
services, to an entity with which the physician (or an immediate family member of the physician)
as defined in 42 C.F.R. 411.351, has a financial relationship, as defined in 42 C.F.R. § 411.354,
that does not satisfy the requirements of an applicable statutory or regulatory exception to the law.
The Stark Law also prohibits the entity from submitting claims to Medicare for such improperly
referred DHS. The statute specifically was designed to prevent losses to the Medicare program due
to the overutilization of DHS, increased costs, and corruption of medical judgment.

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.



       17.     The Stark Law, at 42 U.S.C. § 1395nn(a)(1), provides that:

               (a)     Prohibition of certain referrals

               (1)     In general

               Except as provided in subsection (b), if a physician (or an immediate family
               member of such physician) has a financial relationship with an entity specified in
               paragraph (2), then - -

               (A) the physician may not make a referral to the entity for the furnishing of
               designated health services for which payment otherwise may be made under this
               subchapter, and

               (B) the entity may not present or cause to be presented a claim under this
               subchapter or bill to any individual, third party payor, or other entity for designated
               health services furnished pursuant to a referral prohibited under subparagraph (A).

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.




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       18.     a “financial relationship” of a physician (or an immediate family member of such
physician) with an entity includes “an ownership or investment interest in the entity.” 42 U.S.C. §
1395nn(a)(2).

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.



       19.    The term “immediate family member” includes siblings and spouses of siblings.
See 42 C.F.R. § 411.351.

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.


       20.    In 1993, the Stark Law was extended to referrals for additional DHS, including
home health services. See 42 U.S.C. § 1395nn(h)(6)(1). See also Omnibus Reconciliation Act of
1993, P.L. 103-66, § 13562, Social Security Act Amendments of 1994, P.L. 103-432, § 152.

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.



         21.    Compliance with the Stark Law is a condition of payment by the Medicare program.
The Stark Law prohibits Medicare from paying any claims for DHS referred in violation of the
statute. See 42 U.S.C. § 1395nn(g)(1).

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.


        22.   The regulations implementing 42 U.S.C. § 1395nn expressly require that any entity
collecting payment for a DHS “performed pursuant to a prohibited referral must refund all
collected amounts on a timely basis.” 42 C.F.R. § 411.353(d).




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       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.


       23.    A knowing violation of the Stark Law also may subject the billing entity to
exclusion from participation in federal health care programs and civil monetary penalties. 42
U.S.C. §§ 1395nn(g)(3), 1320a-7a(a).

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.


                                    The Medicare Program

        24.   In 1965, Congress enacted Title XVIII of the Social Security Act, known as the
Medicare Program, to pay for the costs of certain healthcare services. Entitlement to Medicare is
based on age, disability, or affliction with end-stage renal disease. See 42 U.S.C. § 1395(c). Part
A of the Medicare Program authorizes payment for home health care. See 42 U.S.C. § 1395d(a)(3),

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint contain
           generalized statements regarding various aspects of the law to which an answer is
           not required. To the extent an answer is required Castor denies the allegations.


      25.     HHS is responsible for the administration of the Medicare Program, which is
accomplished through CMS.

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.


        26.   At all times relevant to this complaint, CMS contracted with private contractors
referred to as “fiscal intermediaries,” “carriers,” and Medicare Administrative Contractors
(MACs), to act as agents in reviewing and paying claims submitted by healthcare providers. 42
U.S.C. § 1395h; 42 C.F.R. §§ 421.3, 421.100.

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.


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       27.     To participate in the Medicare program as a new enrollee, physicians and non-
physician practitioners must submit a Medicare Enrollment Application, CMS Form-8551.
Physicians also submit Form-8551 if they are reactivating or revalidating Medicare enrollment or
changing certain enrollment information.

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.


       28.     Medicare regulations require providers and suppliers to certify that they meet, and
will continue to meet, the requirements of the Medicare statute and regulations. 42 C.F.R. §
424.516(a)(1).

         When a physician signs the certification statement contained in Form CMS-8551, he or she
attests as follows:

               I agree to abide by the Medicare laws, regulations and program instructions . . . I
       understand that payment of a claim by Medicare is conditioned upon the claim and the
       underlying transaction complying with such laws, regulations, and program instructions
       (including, but not limited to, the Federal anti-kickback statute and the Stark law), and on
       the supplier’s compliance with all applicable conditions of participation in Medicare.

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.


        29.    The National Provider Identifier (NPI) is a standard and unique health identifier for
health care providers, All providers and practitioners must have an assigned NPI number prior to
enrolling in Medicare.

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.


       30.    To obtain Medicare reimbursement for certain outpatient items or services,
providers submit claims using forms known as CMS 1500s. Among the information the provider
includes on a CMS 1500 form are certain five-digit codes, known as Current Procedural
Terminology Codes, or CPT codes, that identify the services rendered and for which



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reimbursement is sought, and the unique billing identification number of the “rendering provider”
and the “referring provider or other source.”

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.



       31.      Defendants Dr. Castor and American are authorized by the Medicare program to
provide medical services to Medicare beneficiaries, bill Medicare for legitimate, covered services
and collect allowable payments for the services provided.

       ANSWER: Castor admits the allegations contained in rhetorical paragraph 31 as to
           himself, but he is without knowledge as to the other defendants and therefore denies
           any allegation related to those defendants.


                       Specific Requirements for Home Health Services

        32.     Medicare will not pay for home health services unless a physician certifies or
recertifies that (1) the patient is confined to the home; (2) the patient needs intermittent skilled
nursing care, physical therapy, speech therapy, or occupational therapy; (3) a plan of care for the
patient was established and is periodically reviewed by the physician; and (4) the home health
services were furnished while the individual was under the care of the physician. Further, before a
home health agency may submit to Medicare claims for payment for home health services, the
attending physician must sign and date the plan of care. Rubber signature stamps are not
acceptable. 42 C.F.R. § 424.22; Medicare Manual 30.1, Rev. 68.

       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.


        33.     If a physician or his immediate family member has a financial relationship with a
home health agency (as defined in 42 C.F.R. § 411.354), the Stark Law prohibits the physician
from (1) certifying or recertifying a need for home health services; or (2) establishing or reviewing
a plan of care with the home health agency, unless the financial relationship of the physician or his
immediate family member satisfies the requirements of an applicable exception in 42 C.F.R. §§
411.355-57.




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       ANSWER: The allegations contained in this rhetorical paragraph of the Complaint
           contain generalized statements regarding various aspects of the law to which an
           answer is not required. To the extent an answer is required Castor denies the
           allegations.



        34.     Defendant American, Adarna Home Health Care Services, Inc. (Adarna), and
Amore Home Health Care Services, Inc. (Amore) were owned by defendant Dr. Castor’s
immediate family members. Adarna, and Amore are located in a Metropolitan Statistical Area (as
defined in 42 C.F.R. § 412.62(f)(1)(ii), and therefore are not located in a rural area as defined at
42 C.F.R. § 411.351. Therefore, the financial relationship between defendant Dr. Castor’s
immediate family members with defendant America, Adarna, and Amore did not satisfy the
requirements of any applicable exception, because no exception was available to them, including
the rural provider exception at 42 C.F.R. § 411.356(c). Therefore, defendant Dr. Castor’s referrals
to his immediate family members who owned defendant American, Adarna, and Amore were
prohibited under the Stark Law and 42 C.F.R. § 424.22.

       ANSWER:         Castor denies the allegations in rhetorical paragraph 34.




                                   DEFENDANTS’ SCHEME

        35.   From May 20, 2008 through January 25, 2014, defendant Dr. Castor knowingly
signed plans of care for, and otherwise referred numerous Medicare patients for the purpose of
receiving home health care services to three home health agencies owned by his immediate family
members in violation of the Stark Law.

       ANSWER:         Castor denies the allegations in rhetorical paragraph 35.



      36.    During the relevant time period, defendant American, Adarna, and Amore were
owned by defendant Dr. Castor’s immediate family members.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 36
           and therefore denies same.


        37.    During the relevant time period, defendant American, Adarna, and Amore
knowingly billed Medicare for home health services in violation of the Stark Law for patients
referred by defendant Dr. Castor.

       ANSWER:         Castor denies the allegations in rhetorical paragraph 37.


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         38.      Attached as Exhibits 1A through 1E and here incorporated by reference as if set out
in full, is a list of claims paid by Medicare for defendant Dr. Castor’s home health care referrals
to agencies owned by his immediate family members for home health care services provided from
May 20, 2008 through January 25, 2014.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 38
           and therefore denies same.


       39.    During the relevant time period, Medicare paid approximately 472 claims totaling
approximately $1,254,489.41 to defendant American, Adarna, and Amore for defendant Dr.
Castor’s home health care referrals.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 39
           and therefore denies same.


                                 America Home Health Services

       40.    Defendant American was incorporated in February 2005 and is engaged in business
as a Medicare provider of home health services in Lake County, Indiana.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 40
           and therefore denies same.


       41.    Defendant Duncan has been American’s President since it was incorporated.
Defendant Duncan was a 50% shareholder of American from its inception until August 2008, when
she became the 100% shareholder of American.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 41
           and therefore denies same.



       42.     Defendant Duncan is the sister of defendant Dr. Castor,

       ANSWER:         Castor admits the allegations in rhetorical paragraph 42.



        43.    Defendant Dr. Castor knowingly referred his patients to American to receive home
health services in violation of the Stark Law and 42 C.F.R. § 424.22.

       ANSWER:         Castor denies the allegations contained in rhetorical paragraph 43.



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        44.    From May 20, 2018 through January 18, 2014, defendant American knowingly
submitted claims to Medicare for home health services for patients referred by defendant Dr.
Castor in violation of the Stark Law and 42 C.F.R. § 424.22.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 44
           and therefore denies same.



        45.    From May 20, 2018 through January 18, 2014, defendant Duncan caused to be
submitted to Medicare claims from defendant American for home health services for patients
referred by defendant Dr. Castor in violation of the Stark Law and 42 C.F.R. § 424.22.

       ANSWER:         Castor denies the allegations contained in rhetorical paragraph 46.



         46.    Attached as Exhibit 1B and here incorporated by reference as if set out in full, is a
list of claims paid by Medicare to American for defendant Dr. Castor’s home health care referrals
for the period from May 20, 2008 through January 18, 2014 (with patient names and other
identifying information redacted pursuant to Fed. R. Civ. P. 52).

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 46
           and therefore denies same.



       47.    During the relevant time period, Medicare paid approximately 318 claims totaling
approximately $862,709.81 to American for defendant Dr. Castor’s home health care referrals.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 47
           and therefore denies same.


       48.     Defendant Jacob Castor owned approximately 25% of American from May 2008
until August 2008.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 48
           and therefore denies same.


       49.     Defendant Jacob Castor is the brother of defendant Dr. Castor.

       ANSWER:         Castor admits the allegations in rhetorical paragraph 49.


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       50.    From May 20, 2008 through August 21, 2008, during the relevant time period of
his ownership in defendant American, defendant Jacob Castor knowingly caused to be submitted
to Medicare claims from defendant American for home health services for patients referred by
defendant Dr. Castor in violation of the Stark Law and 42 C.F.R. § 424.22.

       ANSWER:         Castor denies the allegations in rhetorical paragraph 50.



         51.    Attached as Exhibit 1C and here incorporated by reference as if set out in full, is a
list of claims paid by Medicare to American for defendant Dr. Castor’s home health care referrals
during the period of defendant Jacob Castor’s ownership interest in American from May 20, 2008
through August 21, 2008 (with patient names and other identifying information redacted pursuant
to Fed. R. Civ. P. 5.2).

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 48
           and therefore denies same.


        52.   From May 20, 2008 through August 21, 2008, during the relevant time period of
defendant Jacob Castor’s ownership interest in American, Medicare paid approximately 17 claims
totaling approximately $41,494.52 to American for defendant Dr. Castor’s home health care
referrals.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 52
           and therefore denies same.


                              Adarna Home Health Care Services

         53.    Adarna was incorporated in March 2004 and was engaged in business as a Medicare
provider of home health services in Lake County, Indiana from at least July 22, 2008 through and
at least January 13, 2014.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph 53
           and therefore denies same.



      54.     From at least July 22, 2008 through at least January 13, 2014, Maria Cynthia Castor
was Adarna;s Chief Executive officer and Owner.




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       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           54 and therefore denies same.



      55.    Maria Cynthia Castor is the sister-in-law of defendant Dr. Castor and the wife of
Zosimo Castor, one of the defendant Dr. Castor’s brothers.

       ANSWER:         Castor admits the allegations in rhetorical paragraph 55.



        56.    Defendant Dr. Castor knowingly referred his patients to Adarna in violation of the
Stark law to receive home health services.

       ANSWER:         Castor denies the allegations in rhetorical paragraph 56.



       57.     Adarna and Maria Cynthia Castor submitted claims to Medicare in violation of the
Stark Law for home health services for patients referred by defendant Dr. Castor, from at least July
22, 2008 through at least January 13, 2014, in violation of the Stark Law and 42 C.F.R. § 424.22.

       ANSWER:         Castor denies the allegations contained in rhetorical paragraph 57.



       58.     Attached as Exhibit 1D and here incorporated as if set out in full, is a list of claims
paid by Medicare to Adarna for defendant Dr. Castor’s home health care referrals for the period
from July 22, 2008 through January 13, 2014 (with patient names and other identifying information
redacted pursuant to Fed. R. Civ. P. 5.2).

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           58 and therefore denies same.


        59.    From July 22, 2008 through January 13, 2014, Medicare paid approximately 82
claims totaling approximately $211,308.46 to Adarna for defendant Dr. Castor’s home health care
referrals.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           59 and therefore denies same.




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                            Amore Home Health Care Services, Inc.

      60.     Amore was engaged in business as a Medicare provider of home health services in
Lake County, Indiana from March 14, 2011 through December 13, 2013.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           60 and therefore denies same.



       61.     From March 14, 2011 through December 31, 2013, Debbie J. Castor was the
President and sole shareholder of Amore until she sold the business on December 31, 2013.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           61 and therefore denies same.


       62.     From March 14, 2011 through December 31, 2013, Debbie J. Castor was the sister-
in-law of defendant Castor and the wife of Johnny Castor, one of defendant Dr. Castor’s brothers.

       ANSWER:         Castor admits the allegations in rhetorical paragraph 62.



        63.    Defendant Dr. Castor knowingly referred his patients to Amore to receive home
health services in violation of the Stark Law and 42 C.F.R. § 424.22.

       ANSWER:         Castor denies the allegations in rhetorical paragraph 63.




        64.     Amore and Debbie J. Astor submitted claims to Medicare for home health services
for patients referred by defendant Dr. Castor in violation of the Stark Law and 42 C.F.R. § 424.22.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           64 and therefore denies same.


         65.    Attached as Exhibit 1E and here incorporated by reference as if set out in full, is a
list of claims paid by Medicare to Amore for defendant Dr. Castor’s home health care referrals for
the period from March 14, 2011 through January 25, 2014 (with patient names and other
identifying information redacted pursuant to Fed. R. Civ. P. 5.2).

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           65 and therefore denies same.


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        66.    From March 14, 2011 through January 25, 2014, Medicare paid approximately 72
claims totaling approximately $180,471.14 to Amore for defendant Dr. Castro’s home health care
referrals.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           66 and therefore denies same.


                                   VIOLATIONS OF LAW
                                        COUNT I

       67.    Plaintiff United States realleges paragraphs 1 through 66 above as if fully set forth.

       ANSWER: Castor realleges his answers to rhetorical paragraphs 1 through 66 of his
           answer as if fully set forth herein.



        68.     Defendant Dr. Castor, knowingly presented, or caused to be presented,
approximately 472 false or fraudulent claims to Medicare for defendant Dr. Castor’s home health
care referrals to defendant American, Adarna, and Amore.

       ANSWER:       Castor denies the allegations in rhetorical paragraph 68.



        69.     Defendant American, knowingly presented, or caused to be presented,
approximately 318 false or fraudulent claims to Medicare for defendant Dr. Castor’s home health
care referrals to American.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           69 and therefore denies same.




       70.     Defendant Duncan, knowingly presented, or caused to be presented, approximately
318 false or fraudulent claims to Medicare from defendant American for defendant Dr. Castor’s
home health care referrals to American.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           70 and therefore denies same.




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       71.     Defendant Jacob Castor, knowingly presented, or caused to be presented,
approximately 17 false or fraudulent claims to Medicare from defendant American for defendant
Dr. Castro’s home health care referrals to American.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           71 and therefore denies same.



        72.   The false or fraudulent information in each claim was material to Medicare’s
decision to pay the false claims that defendant American, defendant Duncan, defendant Jacob
Castor, Adarna, and Amore submitted to Medicare.

       ANSWER:         Castor denies the allegations in rhetorical paragraph 72.


        73.    Defendants Dr. Castor, American, Duncan, and Jacob Castor presented the false or
fraudulent claims to Medicare, or caused the false or fraudulent claims to be presented to Medicare,
with actual knowledge of their falsity, or with reckless disregard or deliberate ignorance of whether
or not they were false.

       ANSWER:         Castor denies the allegations in rhetorical paragraph 73.



      74.     Plaintiff United States sustained a loss from the false or fraudulent claims defendant
American, defendant Duncan, defendant Jacob Castor, Adarna, and Amore submitted to Medicare.

       ANSWER:         Castor denies the allegations in rhetorical paragraph 74.



       75.     Defendants Dr. Castor, American, Duncan, and Jacob Castor are liable to plaintiff
United States under the FCA, jointly and severally, for three times the loss sustained by plaintiff
United States plus a civil penalty of not less than $5,500 and not more than $11,000 per false claim
and the costs of this civil action brought to recover such penalty and damages, 31 U.S.C. §
3729(a)(1), (3). Federal Civil Penalties Inflation Adjustment Act of 1990, 28 U.S.C. § 2461 note:
Public Law 101-410; 64 Fed. Reg. 47,099, 47,103 (1999)..

       ANSWER:         Castor denies the allegations in rhetorical paragraph 75.




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                                            COUNT 2

                False Claims Act: False Statements Material to False Claims
                                (31 U.S.C. § 3729(a)(1)(B) )

       76.     Plaintiff United States realleges paragraphs 1 through 75 above as if fully set forth.

       ANSWER: Castor realleges his answers to rhetorical paragraphs 1 through 75 of his
           answer as if fully set forth herein.


        77.     Defendant Dr. Castor knowingly made, used, or caused to be made or used, false
or fraudulent records or statements, including claims for payment or approval submitted to
Medicare (identified in paragraphs 31-62 above) for DHS rendered to patients by an entity owned
by the referring physician’s immediate family members in violation of the Stark Law.

       ANSWER:        Castor denies the allegations in rhetorical paragraph 77.



        78.     Defendant American knowingly made, used, or caused to be made or used, false or
fraudulent records or statements, including claims for payment or approval submitted to the United
States (identified in paragraphs 31-48 above) for DHS rendered to patients by an entity owned by
the referring physician’s immediate family members in violation of the Stark Law.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           78 and therefore denies same.


        79.     Defendant Duncan knowingly made, used, or caused to be made or used, false or
fraudulent records or statements, including claims for payment or approval submitted to the United
States (identified in paragraphs 31-48 above) for DHS rendered to patients by an entity owned by
the referring physician’s immediate family members in violation of the Stark Law.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           79 and therefore denies same.


       80.     Defendant Jacob Castor knowingly made, used, or caused to be made or used, false
or fraudulent records or statements, including claims for payment or approval submitted to the
United States (identified in paragraphs 31-48 above) for DHS rendered to patients by an entity
owned by the referring physician’s immediate family members in violation of the Stark Law.

       ANSWER: Castor is without knowledge as to the allegations in rhetorical paragraph
           80 and therefore denies same.



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      81.     The false or fraudulent records or statements that defendants Dr. Castor, American,
Duncan, and Jacob Castor made, used, or caused to be made or used were material to the decisions
of Medicare to pay the false claims that those defendants submitted, or caused to be submitted, to
Medicare.

       ANSWER:         Castor denies the allegations in rhetorical paragraph 81.



         82.     Defendants Dr. Castor, American, Duncan, and Jacob Castor made, used, or caused
to be made or used, the false or fraudulent records or statements with actual knowledge of their
falsity, or with reckless disregard or deliberate ignorance of whether or not they were false.

       ANSWER:         Castor denies the allegations in rhetorical paragraph 82.



        83.     Plaintiff United States sustained a loss from the false or fraudulent claims to
Medicare that defendants Dr. Castor, American, Duncan, and Jacob Castor caused to be submitted
using false or fraudulent records or statements that defendants Dr. Castor, American, Duncan, and
Jacob Castor made, used, or caused to be made or used.

       ANSWER:         Castor denies the allegations in rhetorical paragraph 83.



        84.     Defendants Dr. Castor, American, Duncan, and Jacob Castor are liable t the United
States under the FCA, jointly and severally, for three times the loss sustained by the United States
plus a civil penalty of not less than $5,500 and not more than $11,000 per false claim and the costs
of this civil action brought to recover such penalty and damages. 31 U.S.C. § 3729(a)(1), (3).
Federal Civil Penalties Inflation Adjustment Act of 1990, 28 U.S.C. § 2461 note; Public Law 101-
410; 64 Fed. Reg. 47,099, 47,103 (1999).

       ANSWER:         Castor denies the allegations in rhetorical paragraph 84.



                COUNT 3 (Defendants American, Duncan, and Jacob Castor)
                                 Payment by Mistake

       85.     Plaintiff United States realleges paragraphs 1 through 84 above as if fully set forth.

       ANSWER:         No answer is necessary because no claim is stated against Castor in Count
           3.




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      86.    This is a claim for the recovery of monies paid by Medicare to defendants
American, Duncan, and Jacob Castor because of mistaken understandings of fact.

       ANSWER:        No answer is necessary because no claim is stated against Castor in Count
           3.


        87.     Defendants American, Duncan, and Jacob Castor were not entitled to receive
payment from the United States for DHS furnished by an entity that had a “financial relationship”
with the referring physician or an “immediate family member” of such physician as prohibited by
the Stark Law.

       ANSWER:        No answer is necessary because no claim is stated against Castor in Count
           3.


        88.    The United States paid defendants American, Duncan, and Jacob Castor for claims
for DHS, specifically home health services, furnished by an entity that had a “financial
relationship” with an “immediate family member” of the referring physician without knowledge
of material facts, and under the mistaken belief that defendants American, Duncan, and Jacob
Castor were entitled to receive payment for such claims.

       ANSWER:        No answer is necessary because no claim is stated against Castor in Count
           3.


       89.    The United States’ mistaken belief was material to its decision to pay claims for
home health services submitted, or caused to be submitted, by defendants American, Duncan, and
Jacob Castor.

       ANSWER:        No answer is necessary because no claim is stated against Castor in Count
           3.


       90.   Plaintiff United States suffered losses as a result of the Medicare payments to
defendants American, Duncan, and Jacob Castor based on a mistake of fact.

       ANSWER:        No answer is necessary because no claim is stated against Castor in Count
           3.


        91.     Defendants American, Duncan, and Jacob Castor are liable to account and pay to
plaintiff United States the payments that Medicare made in error to defendants American, Duncan,
and Jacob Castor.



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       ANSWER:        No answer is necessary because no claim is stated against Castor in Count
           3.


                Count 4 (Defendants American, Duncan, and Jacob Castor)

                                       Unjust Enrichment

       92.     Plaintiff United States realleges paragraphs 1 through 91 above as if fully set forth.

       ANSEWR:        No answer is necessary because no claim is stated against Castor in Count
           4.


       93.   This is a claim by plaintiff United States for recovery of monies by which
defendants American, Duncan, and Jacob Castor were unjustly enriched.

       ANSWER:        No answer is necessary because no claim is stated against Castor in Count
           4.


       94.   By obtaining Medicare funds, directly or indirectly, to which they were not entitled,
defendants American, Duncan, and Jacob Castor were unjustly enriched.

       ANSWER:        No answer is necessary because no claim is stated against Castor in Count
           4.


       95.   Plaintiff United States suffered losses because of the unjust enrichment of
defendants American, Duncan, and Jacob Castor.

       ANSWER:        No answer is necessary because no claim is stated against Castor in Count
           4.


        96.     Defendants American, Duncan, and Jacob Castor are liable to account and pay to
plaintiff United States the amounts defendants America, Duncan, and Jacob Castor received from
Medicare to which they were not entitled.

       ANSWER:        No answer is necessary because no claim is stated against Castor in Count
           4.




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       WHEREFORE, Defendant, Conrado Castor, M.D., by counsel, prays that Plaintiff take
nothing by its Complaint, for costs of this action, and for all other just and proper relief in the
premises.


                                          JURY DEMAND

        Defendant, Conrado Castor, M.D., by counsel, requests trial by jury herein.

                                   AFFIRMATIVE DEFENSES

        Defendant, Conrado Castor, M.D., for his Affirmative Defenses to the Plaintiff’s

Complaint, states:

        1.      That the Complaint fails to state a claim upon which relief can be granted.

        2.      That if it should be deemed that Defendant has failed to answer any allegations

contained in the Plaintiff’s Complaint, Defendant hereby denies said allegation.

        3.      The claims of Plaintiff against Defendant, Dr. Conrado Castor, are barred by the

statute of limitations.

        4.      Any and all home healthcare services performed by Defendant American Home

Health Services, Inc., Adarna Home Health Care Services, Inc. and Amore Home Health Care

Services, Inc., their agents and employees were medically necessary.

        5.      The referrals in question were not made by Dr. Conrado Castor in all instances and

he therefore should not be liable to Plaintiff for those referrals..

        6.      Defendant reserves the right to add any additional affirmative defenses which

become known to him in the future,

        WHEREFORE, Defendant, Conrado Castor, M.D., respectfully requests that Plaintiff take

nothing by way of its Complaint, for costs of this action, and for all other just and proper relief in

the premises.




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                                                     Respectfully submitted,

                                                     BURKE COSTANZA & CARBERRY LLP
                                                     Attorneys for Defendant,
                                                     Conrado Castor, M.D.


                                                     By: /s/Kevin E. Steele____________
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 5, 2020, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which sent notification of such filing to the following:

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